Case 5:21-cv-00616-JWH-SP Document 183-44 Filed 09/07/22 Page 1 of 11 Page ID
                                  #:2673




                                                        ELIZAROV PRODUCTION - 0568
                                                                    Exhibit X - 1
Case 5:21-cv-00616-JWH-SP Document 183-44 Filed 09/07/22 Page 2 of 11 Page ID
      Covered California          #:2674
        PO BOX 989725
        West Sacramento, CA 95798-9725




 LYUDMILA ALEKSEYEVA                                                               Your destination for quality
                                                                                  healthcare, including Medi-Cal




                                   Important Tax Form for 2018


January 07, 2019                                                                         Case:


Dear LYUDMILA ALEKSEYEVA,

Your Internal Revenue Service (IRS) Form 1095-A is at the end of this letter. You need the form to do
your federal tax return. It will allow you to claim the right premium tax credit amount. This is because
you or your family members were in a Covered California health plan.

To qualify for the premium tax credit, you must:
   •   File a federal tax return. Do this even if you don’t usually file a tax return or haven’t filed in the
       past.

   •   Send Form 8962 with your federal tax return. Do this to report the premium tax credit you
       got each month to the IRS. You will use your Form 1095-A to fill out Form 8962.

   •   File taxes as Married Filing Jointly. Do this if you’re married and live with your spouse. For
       exceptions, talk to your tax preparer.

You may get more than one Form 1095-A
This could happen if your family members were in different health plans. Or, if family members
changed health plans or the benefit level during the year, such as Silver to Gold.




CalNOD62A_2018                                                                                             1
                                                                            ELIZAROV PRODUCTION - 0725
                                                                                            Exhibit X - 2
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                           Frequently Asked Questions
                                  #:2675

Q: Why am I getting Form 1095-A?

A: Covered California sends Form 1095-A to the IRS. We also send one to everyone who got health
   insurance through Covered California in 2018. You will need the form to file your taxes. It tells you
   who was enrolled and:
      • How many months they had Covered California health insurance.
      • How much they paid in monthly premiums.
      • How much premium assistance was paid to the health insurance company.

Q: What is the premium tax credit?

A: The premium tax credit is the payment the government makes to your health insurance company.
   It is also called “premium assistance.” The credit lowers your monthly cost for your health plan. The
   premium tax credit that Covered California offers you is based on what you put on your
   application, such as your income and family size. To report income on your application, you
   estimate what you think you will make during the year.
Q: What are my choices for taking the premium tax credit (premium assistance)?

A: You can take some or all of the premium tax credit in advance, during the year. This lowers your
   health plan cost each month. The tax credit you take in advance goes directly to your health plan
   each month. Or you can choose not to take any tax credit in advance and get it when you file your
   taxes.

   When you file your taxes for the year you got premium assistance, the IRS checks your final income
   and family size that you report on your tax return. The IRS then decides how much tax credit you
   qualified for.

       • If your income for the year is lower than what you estimated, you may qualify for more tax
         credit. The IRS may give you the rest in a refund. Or, if you owe other taxes, they may lower
         the amount you owe.

       • If your income for the year is higher than what you estimated, you may have taken too
         much tax credit. The IRS may raise the tax you owe to pay some or all of it back.

Q: Why do I need to report changes to Covered California during the year?

A: You should report changes to Covered California as soon as they happen. Covered California may
   need to change your premium tax credit. This helps you get the right amount. Then you won’t
   have to pay as much back at tax time. Be sure to report changes in your household income or
   family size.

Q: I don’t want to take too much premium tax credit and have to pay it back at tax time. What
   are my choices?

A: You can’t change what you got in 2018. But you can lower the premium assistance amount you are
   getting for 2019. For help, call Covered California at 1-800-300-1506 (TTY: 1-888-889-4500).




CalNOD62A_2018                                                                                        2
                                                                          ELIZAROV PRODUCTION - 0726
                                                                                         Exhibit X - 3
Case 5:21-cv-00616-JWH-SP Document 183-44 Filed 09/07/22 Page 4 of 11 Page ID
Q: I got another form that looks like the Form 1095-A. Why?
                                           #:2676

A: You may have received Form 1095-B or Form 1095-C. Here is why:

          You got a Form 1095-B if someone in your    You got a Form 1095-C if someone in your
             household gets insurance through:           household gets insurance through:
         Medi-Cal
         Medicare
         Veterans Administration                                   Large employers
         Small employers
         Other health insurance company outside of
         Covered California

   The Department of Health Care Services (DHCS) will send Form 1095-B by January 31. Everyone
   who had Medi-Cal in 2018 gets one. This means you will get more than one form if some people in
   your family had Medi-Cal and others had Covered California. If you have questions about this, go to
   the DHCS website at http://dhcs.ca.gov/1095. Or call 1-844-253-0883.

Q: How do I view or download my Form 1095-A?

A: Your Form 1095-A is at the end of this letter. You can also view and download it online:
      • Log in to your CoveredCA.com account.
      • Current Members:
           o Go to “More Actions” in the bottom right corner of the webpage. Click “Secure
               Mailbox.”
      • Past Members:
           o Go to “More Actions” in the bottom right corner of the webpage. Click “View Past
               Application.”
           o Select “Documents and Correspondence.”

                                    Questions about Filing Taxes

Q: How do I use Form 1095-A to file my taxes?

A: You need your Form 1095-A information to fill out IRS Form 8962, Premium Tax Credit. If you got
   premium tax credit during the year or want to claim some now, you must send Form 8962 with
   your federal tax return. Form 8962 helps the IRS figure out how much premium tax credit you got
   during the year and what you qualified for.

Q: Where can I get IRS Form 8962?

A: You can get a blank copy on the IRS website at https://www.irs.gov/forms-instructions. Search for
   “Form 8962.” Your tax preparer or online tax service should also have the form. They can fill it out
   for you.

Q: Can I send Form 8962 with IRS Form 1040EZ?

A: No. To submit Form 8962, you must use IRS Form 1040, 1040A, or 1040NR.

                                    Questions about your 1095-A

Q: What if I did not make premium payments to my health plan?



CalNOD62A_2018                                                                                       3
                                                                          ELIZAROV PRODUCTION - 0727
                                                                                        Exhibit X - 4
Case 5:21-cv-00616-JWH-SP Document 183-44 Filed 09/07/22 Page 5 of 11 Page ID
A: If your health plan ended because you did#:2677
                                             not pay premiums, then a -0- will appear in Part III -
   Column A for each month you did not pay. This will happen even if you got a premium tax credit
   during those months.

Q: My Form 1095-A says I did not get any premium assistance. Part III – Column C is blank or has
   all zeroes. Why?

A: There are three reasons why you may not have received premium assistance:

   1. You did not qualify for premium assistance when you or your family member enrolled in a
      Covered California health plan. Here are some possible reasons why:
      • Your estimated household income was over 400% of the federal poverty level. To qualify for
        premium assistance, your income must be between 100% and 400%.
      • You were eligible for other health insurance, like employer or government-sponsored
        coverage such as Medi-Cal or Medicare.

   2. You decided not to take any premium tax credit in advance.

   3. You did not qualify when you applied for coverage because the premiums in your area were
      “affordable” for your household, as defined in the Affordable Care Act.

Q: What if I do not agree with the information on my Form 1095-A?

A: If you think there is a mistake on your Form 1095-A, call Covered California right away.

                                        Help Filing Your Taxes

Q: Where can I get help filing my taxes?

A: You can talk to a tax adviser. Or you can get help from the IRS website: www.irs.gov/help. The
   website has taxpayer “Help and Resources.” It tells how to find “Local Taxpayer Advocates” and
   “Low Income Taxpayer Clinics.”

   You may also get free tax help at a local Volunteer Income Tax Assistance (VITA) site. VITA generally
   serves people who make $54,000 or less per year, persons with disabilities, and the elderly and
   limited English-speaking taxpayers. To find help near you, go to https://irs.treasury.gov/
   freetaxprep/. Or call 1-800-906-9887.

Questions?

Covered California may be able to answer questions about this letter and your Form 1095-A. Covered
California cannot give tax advice.

   •   Go to the IRS website to learn more about:
        o Filing your federal tax return: https://www.irs.gov/Filing.
        o The Affordable Care Act and taxes: www.irs.gov/aca.
   •   Go to CoveredCA.com.
   •   Call Covered California at 1-800-300-1506 (TTY: 1-888-889-4500). You can call Monday through
       Friday 8 a.m. to 6 p.m. During certain times of the year, Covered California may be open
       Saturdays 8 a.m. to 5 p.m. The call is free.




CalNOD62A_2018                                                                                      4
                                                                         ELIZAROV PRODUCTION - 0728
                                                                                        Exhibit X - 5
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Thank you,                        #:2678

Covered California


This notice was sent to you in compliance with the Affordable Care Act implementing regulations: 26 Code of Federal Regulations, §
1.36B-5.




CalNOD62A_2018                                                                                                                       5
                                                                                               ELIZAROV PRODUCTION - 0729
                                                                                                                  Exhibit X - 6
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                                  #:2679




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CalNOD62A_2018                                                                          6
                                                                  ELIZAROV PRODUCTION - 0730
                                                                              Exhibit X - 7
Case 5:21-cv-00616-JWH-SP Document 183-44 Filed 09/07/22 Page 8 of 11 Page ID
                                  #:2680
        Section 1557 of the Patient Protection and Affordable Care Act (ACA)
Covered California complies with applicable federal civil rights laws and does not discriminate on the
basis of race, color, national origin, age, disability, sex, gender identity or sexual orientation. Covered
California does not exclude people or treat them differently because of race, color, national origin, age,
disability, sex, gender identity or sexual orientation.
Covered California provides free aids and services to people with disabilities to communicate
effectively with us, such as qualified sign language interpreters and written information in other
formats (large print, audio, accessible electronic formats and other formats). Covered California also
provides free language services to people whose primary language is not English, such as qualified
interpreters and information written in other languages.

If you need these services, contact the Civil Rights Coordinator at 1-916-228-8764 or by email at
CivilRights@covered.ca.gov.

If you believe that Covered California has failed to provide these services or discriminated in another
way on the basis of race, color, national origin, age, disability, sex, gender identity or sexual
orientation, you can file a grievance with the Civil Rights Coordinator.

You can file a grievance in the following ways:

Mail:          Civil Rights Coordinator
               P.O. Box 989725
               West Sacramento, CA 95798-9725

Phone:         1-916-228-8764

Fax:           1-916-228-8909

Email:         CivilRights@covered.ca.gov

You can also file a civil rights complaint with the Office for Civil Rights at the U.S. Department of
Health and Human Services.

Mail:          U.S. Department of Health and Human Services
               200 Independence Ave. SW, Room 509F, HHH Building
               Washington, DC 20201

Phone:         1-800-368-1019 or TTY: 1-800-537-7697

Online:        Office for Civil Rights Complaint Portal at https://ocrportal.hhs.gov/ocr/portal/lobby.jsf.
               Complaint forms are available on the U.S. Department of Health and Human Services
               Office for Civil Rights website.

Thank you,

Covered California




CalNOD62A_2018                                                                                           7
                                                                             ELIZAROV PRODUCTION - 0731
                                                                                            Exhibit X - 8
Case 5:21-cv-00616-JWH-SP Document 183-44 Filed 09/07/22 Page 9 of 11 Page ID
                                  #:2681
                                  Getting Help in a Language Other than English
IMPORTANT: Can you read this letter? You can call                          ឬជាទ�មង់មួយេផ�ងេទៀតដូចជាអក�រពុម�ធំៗ។ ស�មាប់ TTY
1-800-300-1506 and ask for this letter translated to your                  ទូរស័ព�មកេលខ 1-888-889-4500
language or in another format such as large print. For TTY                 ែដលេលោកអ�កក៏អាចេស�ើសុំលិខិតេនះ ជាទ�មង់េផ�ងេទៀត
call 1-888-889-4500 where you can also request this letter                 �ានផងែដរ។ (Khmer)
in alternate format.
                                                                           Русский ВАЖНАЯ ИНФОРМАЦИЯ: Вы можете
Español IMPORTANTE: ¿Puede leer esta carta? Usted                          прочитать это письмо? Вы можете позвонить по
puede llamar al 1-800-300-0213 y pedir esta carta                          телефону 1-800-778-7695 и запросить получение этого
traducida en su idioma o en otro formato, como en letras                   письма, переведенного на Ваш родной язык, или
grandes. Para TTY, llame al 1-888-889-4500, donde                          распечатанного крупным шрифтом. Лица со сниженным
también puede pedir esta carta en algún formato diferente.                 слухом могут позвонить по телефону 1-888-889-4500,
(Spanish)                                                                  чтобы запросить это письмо в ином формате. (Russian)
中文/繁體字 重要事项：您能否阅读此信件？您可以致电                                                           ‫ آﯾﺎ ﻣﯽ ﺗﻮاﻧﯿﺪ اﯾﻦ ﻧﺎﻣﻪ را ﺑﺨﻮاﻧﯿﺪ؟ ﻣﯽ ﺗﻮاﻧﯿﺪ ﺑﺎ ﺷﺎﻤره‬:‫ﻓﺎرﺳﯽ ﻣﻬﻢ‬
1-800-300-1533, 要求将此信件翻译为您的母语或者索要                                              ‫ ﻤﺗﺎس ﺑﮕﯿﺮﯾﺪ و ﺗﻘﺎﺿﺎ ﮐﻨﯿﺪ ﮐﻪ اﯾﻦ ﻧﺎﻣﻪ ﺑﻪ زﺑﺎن ﺷﺎﻤ‬1-800-921-8879
其他格式（如，大字版本）的信件。如需 TTY 服务或者                                                 ‫ ﺑﺮای‬.‫ﺗﺮﺟﻤﻪ ﺷﻮد ﯾﺎ ﺑﻪ ﻓﺮﻣﺖ دﯾﮕﺮی ﻣﺎﻧﻨﺪ ﺣﺮوف درﺷﺖ ﺑﻪ ﺷﺎﻤ ارﺳﺎل ﺷﻮد‬
索要其他格式的信件，请致电 1-888-889-4500。
(Chinese)
                                                                              ‫ ﻤﺗﺎس ﺑﮕﯿﺮﯾﺪ و از ﻃﺮﯾﻖ ﻫﺎﻤن ﺷﺎﻤره‬1-888-889-4500 ‫ ﺑﺎ ﺷﺎﻤره‬TTY
Tiếng Việt QUAN TRỌNG: Quý vị có thể đọc được bức thư                      ‫ﻫﻤﭽﻨﯿﻦ ﻣﯽ ﺗﻮاﻧﯿﺪ درﺧﻮاﺳﺖ ﮐﻨﯿﺪ ﮐﻪ اﯾﻦ ﻧﺎﻣﻪ ﺑﻪ ﻓﺮﻣﺖ دﯾﮕﺮی ﺑﻪ ﺷﺎﻤ ارﺳﺎل‬
này không? Quý vị có thể gọi điện đến số 1-800-652-9528                                                                                  (Farsi) .‫ﺷﻮد‬
và yêu cầu được dịch bức thư này sang ngôn ngữ của quý vị                  Hmoob TSEEM CEEB: Koj nyeem puas tau tsab ntawv no?
hoặc chuyển sang định dạng khác như bản in khổ lớn.                        Koj hu tau rau 1-800-771-2156 nug daim ntawv txais ua
Người dùng TTY, hãy gọi số 1-888-889-4500 quý vị cũng                      yog koj cov lus los yog lwm hom xws lis tus ntawv loj. Hu
có thể yêu cầu định dạng thay thế khác cho bức thư này.                    tau TTY ntawm 1-800-889-4500 ua koj thov hloov tau lwm
(Vietnamese)                                                               hom. (Hmong)
한국어 중요: 이 편지를 읽을 수 있나요? 1-800-738-9116                                     मह�वपूणर्: �ा आप यह पत्र पढ़ सकते ह�� इस पत्र को अपनी भाषा म�
에 연락하셔서 번역되어 있거나 인쇄물 등 다른 포맷으로                                             अनुवाद करने के �लए या बड़े �प्रटं क� तरह िकसी अ�य प्रा�प म� प्रा�त करने
되어 있는 편지를 요청해보세요. TTY 1-888-889-4500 에                                     के �लए 1-800-300-1506 पर कॉल करके अनुरोध कर सकते ह�। TTY के
서도 이 편지의 다른 포맷을 요청할 수도 있습니다.
(Korean)
                                                                           �लए 1-888-889-4500 पर कॉल कर� जहाँ आप इस पत्र को िकसी अ�य
                                                                           प्रा�प म� प्रा�त करने का अनुरोध कर सकते ह�। (Hindi)
Tagalog MAHALAGA: Makakabasa ka ba sa sulat na ito?
Maaari kang tumawag sa 1-800-983-8816 at humiling na                       重要：この文書を読むことができますか？希望の言語に翻訳
isalin ang sulat na ito sa iyong wika o sa iba pang format                 された文書、または大きな文字など別の形式の文書をご希望
katulad ng malalaking titik. Para sa TTY, tumawag sa                       の場合、1-800-300-1506 までお電話ください。TTY の場
1-888-889-4500 kung saan maaari kang humiling ng                           合、1-888-889-4500 にお電話いただければ、その他の形式
alternatibong format ng sulat na ito.                                      の文書をリクエストすることもできます。(Japanese)

                 ‫ ﻫﻞ ﻤﻳﻜﻨﻚ ﻗﺮاءة ﻫﺬا اﻟﺨﻄﺎب؟ ﻤﻳﻜﻨﻚ اﻻﺗﺼﺎل ﺑـ‬:‫اﻟﻌﺮﺑﻴﺔ ﻫﺎم‬   ਮਹੱਤਵਪੂਰਨ: ਕੀ ਤੁਸ� ਇਸ ਪੱਤਰ � ਪੜ ਸਕਦੇ ਹੋ ਤੁਸ�
  ،‫ﻣﱰﺟﺎﻤ إﱃ ﻟﻐﺘﻚ أو ﺑﺼﻴﻐﺔ أﺧﺮى‬
                           ً     ‫ وﻃﻠﺐ ﻫﺬا اﻟﺨﻄﺎب‬1-800-826-6317            1-800-300-1506 'ਤੇ ਕਾਲ ਕਰ ਸਕਦੇ ਹੋ ਅਤੇ ਇਸ ਪੱਤਰ � ਆਪਣੀ
 ً‫ ﺣﻴﺚ ﻤﻳﻜﻨﻚ أﻳﻀﺎ‬1-888-889-4500 ‫ اﺗﺼﻞ ﺑـ‬،‫ ﻟﻠﺼﻢ واﻟﺒﻜﻢ‬.‫ﻣﺜﻼ‬   ً ‫ﺑﺨﻂ ﻛﺒﺮﻴ‬     ਭਾਸ਼ਾ ਿਵਚ ਜਾਂ ਿਕਸੇ ਹੋਰ ਸਰੂਪ ਿਵਚ‚ ਿਜਵ� ਿਕ ਵੱਡੇ ਪਿਰੰਟ ਲਈ ਪੁੱਛ ਸਕਦੇ ਹੋ।
                             (Arabic) .‫أن ﺗﻄﻠﺐ ﻫﺬا اﻟﺨﻄﺎب ﺑﺼﻴﻐﺔ ﻣﺨﺘﻠﻔﺔ‬     ਟੀਟੀਵਾਇ ਲਈ 1-888-889-4500 'ਤੇ ਕਲ ਕਰੋ ਿਜੱਥੇ ਿਕ ਤੁਸ� ਇਸ ਪੱਤਰ
հայերեն ԿԱՐԵՎՈՐ Է: Դուք կարո՞ղ եք կարդալ                                   ਦੇ ਿਵਕਲਪਕ ਰੂਪ ਿਵਚ ਸਰੂਪ ਲਈ ਬੇਨਤੀ ਵੀ ਕਰ ਸਕਦੇ ਹੋ। (Punjabi)
այս նամակը: Դուք կարող եք զանգահարել                                       สําคัญ: คุณสามารถอ่านจดหมายฉบับนี � ได้หรือไม่? ถ้าคุณมีข้อสงสัย
1-800-996-1009 և խնդրել, որ այս նամակը                                     คุณสามารถติดต่อได้ที�เบอร์ 1-800-300-1506
թարգմանվի Ձեր լեզվով կամ Ձեզ տրվի մեկ այլ                                  เพื�อทําการพูดคุยกับเจ้าหน้ าที�ที� ใช้ภาษาของคุณ
ձևաչափով, օրինակ` խոշորատառ: TTY-ի համար                                   นอกจากนี �คณ ุ ยังสามารถร้องขอให้แปลจดหมายฉบับนี �เป็ นภาษาที�คุ
զանգահարեք 1-888-889-4500, որտեղ կարող եք
                                                                           ณต้อง การได้หรือเปลี�ยนแปลงรูปแบบตัวอักษรให้เป็ นรูปแบบอื�น
                                                                           เช่น ตัวอักษรพิมพ์ ใหญ่หรือทําให้มีขนาดใหญ่ขึน   � สําหรับระบบ TTY
նաև այլընտրանքային ձևաչափով խնդրել այս
                                                                                                 �
                                                                           คุณสามารถติดต่อได้ทีเบอร์ 1-888-889-4500
նամակը: (Armenian)
                                                                           ซึ�งคุณสามารถขอจดหมายฉบับนี � ในรูปแบบอื�น ๆ
ភាសាែខ�រ សំខាន់៖ េតើេលោកអ�កអាចអានលិខិតេនះ�ានែដរឬេទ?                        ได้ตามที�คณุ ต้องการ (Thai)
េលោកអ�កអាចទូរស័ព�មកេលខ 1-800-906-8528
និងេស�ើសុំឲ�េគបកែ�បលិខិតេនះជាភាសារបស់េលោកអ�ក
CalNOD62A_2018                                                                                                                                 8
                                                                                                        ELIZAROV PRODUCTION - 0732
                                                                                                                             Exhibit X - 9
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Form 1095-A (2018)                                                                                                                             Page   2

Instructions for Recipient                                                   If advance credit payments are made, the only individuals listed on
                                                                           Form 1095-A will be those whom you certified to the Marketplace
You received this Form 1095-A because you or a family member               would be in your tax family for the year of coverage (yourself, spouse,
enrolled in health insurance coverage through the Health Insurance         and dependents). If you certified to the Marketplace at enrollment that
Marketplace. This Form 1095-A provides information you need to             one or more of the individuals who enrolled in the plan aren’t
complete Form 8962, Premium Tax Credit (PTC). You must complete            individuals who would be in your tax family for the year of coverage,
Form 8962 and file it with your tax return (Form 1040 or Form              those individuals won’t be listed on your Form 1095-A. For example, if
1040NR) if any amount other than zero is shown in Part III, column         you indicated to the Marketplace at enrollment that an individual
C, of this Form 1095-A (meaning that you received premium                  enrolling in the policy is your adult child who will not be your
assistance through advance credit payments) or if you want to              dependent for the year of coverage, that child will receive a separate
take the premium tax credit. The filing requirement applies whether        Form 1095-A and won’t be listed in Part II on your Form 1095-A.
or not you’re otherwise required to file a tax return. If you are filing
Form 8962, you cannot file Form 1040NR-EZ, Form 1040-SS, or Form             If advance credit payments are made and you certify that one or
1040-PR. The Marketplace also has reported the information on this         more enrolled individuals aren’t individuals who would be in your tax
form to the IRS. If you or your family members enrolled at the             family for the year of coverage, your Form 1095-A will include
Marketplace in more than one qualified health plan policy, you will        coverage information in Part III that is applicable solely to the
receive a Form 1095-A for each policy. Check the information on this       individuals listed on your Form 1095-A, and separately issued Forms
form carefully. Please contact your Marketplace if you have questions      1095-A will include coverage information, including dollar amounts,
concerning its accuracy. If you or your family members were enrolled       applicable to those individuals not in your tax family.
in a Marketplace catastrophic health plan or separate dental policy,
you aren’t entitled to take a premium tax credit for this coverage when     If advance credit payments weren’t made and you didn’t identify at
you file your return, even if you received a Form 1095-A for this          enrollment the individuals who would be in your tax family for the
coverage. For additional information related to Form 1095-A, go to         year of coverage, Form 1095-A will list all enrolled individuals in Part II
www.irs.gov/Affordable-Care-Act/Individuals-and-Families/Health-           on your Form 1095-A.
Insurance-Marketplace-Statements.
                                                                             Part II also tells the IRS the months that the individuals identified are
Additional information. For additional information about the tax           covered by health insurance and therefore have satisfied the
provisions of the Affordable Care Act (ACA), including the individual      individual shared responsibility provision.
shared responsibility provisions, the premium tax credit, and the
employer shared responsibility provisions, see www.irs.gov/Affordable-       If there are more than 5 individuals covered by a policy, you will
Care-Act/Individuals-and-Families or call the IRS Healthcare Hotline for   receive one or more additional Forms 1095-A that continue Part II.
ACA questions (1-800-919-0452).                                            Part III. Coverage Information, lines 21–33. Part III reports
VOID box. If the “VOID” box is checked at the top of the form, you         information about your insurance coverage that you will need to
previously received a Form 1095-A for the policy described in Part I.      complete Form 8962 to reconcile advance credit payments or to
That Form 1095-A was sent in error. You shouldn’t have received a          take the premium tax credit when you file your return.
Form 1095-A for this policy. Don’t use the information on this or the
previously received Form 1095-A to figure your premium tax credit on       Column A. This column is the monthly premiums for the plan in which
Form 8962.                                                                 you or family members were enrolled, including premiums that you
                                                                           paid and premiums that were paid through advance payments of the
CORRECTED box. If the “CORRECTED” box is checked at the top of the         premium tax credit. If you or a family member enrolled in a separate
form, use the information on this Form 1095-A to figure the premium        dental plan with pediatric benefits, this column includes the portion of
tax credit and reconcile any advance credit payments on Form 8962.         the dental plan premiums for the pediatric benefits. If your plan
Don’t use the information on the original Form 1095-A you received         covered benefits that aren't essential health benefits, such as adult
for this policy.                                                           dental or vision benefits, the amount in this column will be reduced by
                                                                           the premiums for the non-essential benefits. If the policy was
Part I. Recipient Information, lines 1–15. Part I reports information      terminated by your insurance company due to nonpayment of
about you, the insurance company that issued your policy, and the          premiums for one or more months, then a -0- will appear in this
Marketplace where you enrolled in the coverage.                            column for these months regardless of whether advance credit
Line 1. This line identifies the state where you enrolled in coverage      payments were made for these months.
through the Marketplace.
                                                                           Column B. This column is the monthly premium for the second
Line 2. This line is the policy number assigned by the Marketplace to      lowest cost silver plan (SLCSP) that the Marketplace has
identify the policy in which you enrolled. If you are completing Part IV   determined applies to members of your family enrolled in the
of Form 8962, enter this number on line 30, 31, 32, or 33, box a.          coverage. The applicable SLCSP premium is used to compute your
                                                                           monthly advance credit payments and the premium tax credit you
Line 3. This is the name of the insurance company that issued your         take on your return. See the instructions for Form 8962, Part II, on
policy.                                                                    how to use the information in this column or how to complete Form
Line 4. You are the recipient because you are the person the               8962 if there is no information entered. If the policy was terminated
Marketplace identified at enrollment who is expected to file a tax         by your insurance company due to nonpayment of premiums for
return and who, if qualified, would take the premium tax credit for the    one or more months, then a -0- will appear in this column for the
year of coverage.                                                          months, regardless of whether advance credit payments were made
                                                                           for these months.
Line 5. This is your social security number. For your protection, this
form may show only the last four digits. However, the Marketplace has      Column C. This column is the monthly amount of advance credit
reported your complete social security number to the IRS.                  payments that were made to your insurance company on your behalf
                                                                           to pay for all or part of the premiums for your coverage. If this is the
Line 6. A date of birth will be entered if there is no social security     only column in Part III that is filled in with an amount other than zero
number on line 5.                                                          for a month, it means your policy was terminated by your insurance
Lines 7, 8, and 9. Information about your spouse will be entered only      company due to nonpayment of premiums, and you aren’t entitled to
if advance credit payments were made for your coverage. The date of        take the premium tax credit for that month when you file your tax
birth will be entered on line 9 only if line 8 is blank.                   return. You still must reconcile the entire advance payment that was
                                                                           paid on your behalf for that month using Form 8962. No information
Lines 10 and 11. These are the starting and ending dates of the            will be entered in this column if no advance credit payments were
policy.                                                                    made.
Lines 12 through 15. Your address is entered on these lines.               Lines 21–33. The Marketplace will report the amounts in columns A,
Part II. Covered Individuals, lines 16–20. Part II reports                 B, and C on lines 21–32 for each month and enter the totals on line
information about each individual who is covered under your policy.        33. Use this information to complete Form 8962, line 11 or lines 12–23.
This information includes the name, social security number, date of
birth, and the starting and ending dates of coverage for each
covered individual. For each line, a date of birth is reported in                                         ELIZAROV PRODUCTION - 0734
column C only if an SSN isn't entered in column B.                                                                          Exhibit X - 11
